Case 8:22-cv-01195-JWH-ADS Document 133 Filed 03/27/23 Page 1 of 5 Page ID #:3592




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   10 Email: William.Waldman@klgates.com

   11
                            UNITED STATES DISTRICT COURT
   12
                           CENTRAL DISTRICT OF CALIFORNIA
   13

   14 ELI Realty Investments, LLC, a Nevada         Case No. 8:22-CV-01195-JWH-ADS
        limited liability company; Exclusive        ASSIGNED TO: HON. JOHN W. HOLCOMB
   15   Lifestyles SoCal, LLC, a California limited
   16   liability company; Exclusive Lifestyles
        San Francisco, Inc., a California           STIPULATION OF DISMISSAL
   17   corporation; Exclusive Lifestyles Ohio,     WITHOUT PREJUDICE AS
        LLC, an Ohio limited liability company;     BETWEEN CORCORAN GROUP,
   18   and Exclusive Lifestyles Las Vegas, LLC, LLC AND LIBERTAS FUNDING
   19   a Nevada limited liability company,         LLC
   20                                 Plaintiffs,
        vs.
   21

   22 Corcoran Group, LLC, a Delaware limited
        liability company; DOES 1 through 10,
   23                                            Third Party
                                     Defendants. Counterclaim: January 12, 2023
   24

   25 Corcoran Group LLC,

   26          Counterclaimant and Third Party
               Plaintiff,
   27
        vs.
   28                                               1
        STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND
                       LIBERTAS FUNDING LLC - CASE No. 8:22-CV-01195-JWH-ADS
Case 8:22-cv-01195-JWH-ADS Document 133 Filed 03/27/23 Page 2 of 5 Page ID #:3593




    1
        ELI Realty Investments, LLC; Michael
    2 Mahon; Pamela Mahon; MRM

    3 Investments, LLC; AIM High Capital
        Partners, LLC; Libertas Funding LLC;
    4 Matek LLC; and DOES 1 - 10,

    5
                     Counterclaim Defendants and
    6                Third Party Defendants.
    7
      Libertas Funding LLC; Michael Mahon;
    8
      Pamela Mahon; and MRM Investments,
    9 LLC,

   10
                                    Third-Party
   11                           Counterclaimants,
   12 v.

   13 Corcoran Group, LLC,

   14 Counterclaim

   15                                Third-Party
                                     Defendant.
   16

   17
                                                        )
   18
   19
              Defendant, Counterclaimant and Third Party Plaintiff, Corcoran Group LLC
   20
        (“Corcoran”) and Third Party Defendant, Libertas Funding LLC (“Libertas”), in the
   21
        above captioned action (the “Action”), by and through their respective counsel of
   22
        record, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) hereby
   23
        stipulate and agree that the Action has been resolved and should be dismissed as
   24
        between them, without prejudice, pursuant to the terms of that certain Confidential
   25
        Settlement    Agreement    between     Corcoran     and   Libertas   (the   “Settlement
   26
        Agreement”).
   27

   28                                               2
        STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND
                       LIBERTAS FUNDING LLC - CASE No. 8:22-CV-01195-JWH-ADS
Case 8:22-cv-01195-JWH-ADS Document 133 Filed 03/27/23 Page 3 of 5 Page ID #:3594




    1        As a result of the agreements set forth in the Settlement Agreement, all claims
    2 in the Action by and between Corcoran and Libertas are dismissed without prejudice

    3 and without costs.

    4

    5
                                                    K&L GATES LLP

    6
        Dated: March 24, 2023                By: /s/ Daniel M. Eliades
    7                                            Daniel M. Eliades
    8                                               Attorneys for Defendant,
    9                                               Counterclaimant, and Third Party
                                                    Plaintiff, Corcoran Group LLC
   10

   11

   12                                               MCGUIREWOODS LLP
   13

   14
        Dated: March 24, 2023                  By: /s/ Kevin B. Frankel
   15                                              Kevin B. Frankel
   16
                                                    Attorneys for Third Party Defendant,
   17
                                                    Libertas Funding LLC
   18
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        STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND
                       LIBERTAS FUNDING LLC - CASE No. 8:22-CV-01195-JWH-ADS
Case 8:22-cv-01195-JWH-ADS Document 133 Filed 03/27/23 Page 4 of 5 Page ID #:3595




    1                              FILER’S ATTESTATION
    2        Pursuant to Central District Local Rule 5-4.3.4(a)(2), the undersigned attests
    3 that all other signatories identified below, and on whose behalf this document is

    4 submitted, concur in the content of, and have authorized the filing of, this

    5 Stipulation of Dismissal Without Prejudice as Between Corcoran Group, LLC and

    6 Libertas Funding LLC.

    7

    8                                                K&L GATES LLP
    9

   10   Dated: March 24, 2023                 By: /s/ Damon M. Pitt
                                                  Damon M. Pitt
   11
                                                     Attorneys for Defendant,
   12                                                Counterclaimant, and Third Party
   13                                                Plaintiff, Corcoran Group LLC

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        STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND
                       LIBERTAS FUNDING LLC - CASE No. 8:22-CV-01195-JWH-ADS
Case 8:22-cv-01195-JWH-ADS Document 133 Filed 03/27/23 Page 5 of 5 Page ID #:3596




    1                                 CERTIFICATE OF SERVICE
                      ELI Realty Investments, LLC, et als v. Corcoran Group LLC, et al.
    2                           USDC Case No. 8:22-CV-01195-JWH-ADS
    3
                 I am over the age of 18 and not a party to the within action. I am employed in
    4 the County of Orange, State of California; my business address is 1 Park Plaza, 12th

    5 Floor, Irvine, CA 92614.

    6       On the date set forth below, I served on all interested parties in this action the
    7 foregoing document described as: STIPULATION OF DISMISSAL WITHOUT
        PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND LIBERTAS
    8 FUNDING LLC as stated below:

    9

   10
        Steven M. Hanle (SBN 168876)
        STRADLING YOCCA CARLSON & RAU
   11   A Professional Corporation
        660 Newport Center Drive, Suite 1600 Newport Beach, CA 92660-6422
   12   Attorneys for Plaintiffs, Counterclaim Defendants and Third Party Defendants,
        ELI Realty Investments, LLC, Exclusive Lifestyles SoCal, LLC, Exclusive Lifestyles
   13   San Francisco, Inc., Exclusive Lifestyles Ohio, LLC, Exclusive Lifestyles Las
   14
        Vegas, LLC, Michael Mahon, Pamela Mahon, MRM Investments, LLC, Aim High
        Capital Partners, LLC and Matek, LLC
   15
      Kevin B. Frankel (SBN 277840)
   16 MCGUIREWOODS LLP
      Two Embarcadero Center
   17 Suite 1300
      San Francisco, CA 94111-3821
   18 Attorneys for Third Party Defendant, Libertas Funding, LLC
   19 [X]        BY CM/ECF: With the Clerk of the United States District Court of
   20            California using the CM/ECF System. The Court’s CM/ECF System will
                 send an e-mail notification of the foregoing filing to the parties and counsel of
   21            record who are registered with the Court’s CM/ECF System.
   22
        [X]      I declare under penalty of perjury of the laws of the United States of America
   23            that the foregoing is true and correct.
   24
                 Executed on March ___, 2023 in Irvine, California.
   25

   26                                                          /s/_____________
   27
                                             5
   28 STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS BETWEEN CORCORAN GROUP, LLC AND
                            LIBERTAS FUNDING LLC - CASE No. 8:22-CV-01195-JWH-ADS

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